       Case 2:20-cv-00119-SMJ    ECF No. 29    filed 06/07/21   PageID.193 Page 1 of 2




1                                                                              FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON


2                                                                     Jun 07, 2021
                                                                          SEAN F. MCAVOY, CLERK
3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 2:20-cv-00119-SMJ
5
                              Plaintiff,        ORDER GRANTING PARTIES’
6                                               STIPULATED MOTION FOR
                 vs.                            ENTRY OF JUDGMENT
7
     LAITH ELAIMY,
8
                              Defendant.
9

10         Before the Court, without oral argument, is the parties’ Stipulated Motion for

11   Entry of Judgment, ECF No. 28, and notice of settlement. Having carefully

12   reviewed all relevant documents, the Court is fully informed.

13         Accordingly, IT IS HEREBY ORDERED:

14         1.    The parties’ Stipulated Motion for Entry of Judgment, ECF No. 28, is

15               GRANTED.

16         2.    The parties’ [Proposed] Consent Judgment, ECF No. 28-1, is

17               APPROVED, ADOPTED, and INCORPORATED in this Order by

18               reference.

19

20


     ORDER GRANTING PARTIES’ STIPULATED MOTION FOR ENTRY OF
     JUDGMENT – 1
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1          3.     The parties’ [Proposed] Consent Installment Payment Order, ECF

2                 No. 28-2, is APPROVED, ADOPTED, and INCORPORATED in

3                 this Order by reference.

4          4.     The Clerk’s Office is directed to CLOSE this file.

5          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

6    provide copies to all counsel.

7          DATED this 7th day of June 2021.

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                        __________________________
9                       SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER GRANTING PARTIES’ STIPULATED MOTION FOR ENTRY OF
     JUDGMENT – 2
